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                  United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                        ____________
No. 25-5072                                                    September Term, 2024
                                                                            1:25-cv-00429-TSC
                                                            Filed On: March 20, 2025
In re: Elon Musk, in his official capacity, et al.,

               Petitioners


       BEFORE:        Henderson, Millett, and Walker, Circuit Judges

                                           ORDER

      Upon consideration of the petition for writ of mandamus and the emergency
motion for a stay, it is

      ORDERED that respondents file responses to both the emergency motion and
the mandamus petition by 5:00 p.m. on Monday, March 24, 2025. Any replies are due
by 5:00 p.m. on Tuesday, March 25, 2025.


                                          Per Curiam


                                                              FOR THE COURT:
                                                              Clifton B. Cislak, Clerk

                                                      BY:     /s/
                                                              Selena R. Gancasz
                                                              Deputy Clerk
